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 8
 9                           IN THE UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
12    MARCIANO PLATA, et al.,                              No. C-01-1351 JST
13
             Plaintiffs,                                   STIPULATION AND ORDER FOR
14                                                         COLLECTION OF UNDISPUTED
             v.                                            ATTORNEYS' FEES AND COSTS FOR
15                                                         SECOND QUARTER OF 2021
      GAVIN NEWSOM, et al.,
16
17           Defendants

18
19           On December 17, 2002, the Court established a procedure by which plaintiffs are
20   to collect attorneys' fees and costs incurred in connection with the Stipulation for
21   Injunctive Relief. This procedure requires plaintiffs' counsel to submit to defendants a
22   quarterly statement of fees incurred in monitoring work, and permits defendants thirty
23   (30) days from the receipt of plaintiffs' statement to notify plaintiffs of any disputed
24   items. After the parties meet and confer on any of defendant's objections, counsel shall
25   then prepare a stipulated order for payment of the fees not subject to defendants’
26   objections. The Order also states that defendants shall have thirty (30) days from the
27   entry of the order to pay the undisputed fees and that interest on any undisputed fees will
28

     Stipulation and Order Re: Collection of Second Quarter Fees
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 1   run from the thirty-first day after the Order is filed, accruing at the rate provided by 28
 2   U.S.C. § 1961.
 3          Pursuant to this procedure, plaintiffs' counsel served their second quarter billing
 4   statement for the period of April 1, 2021 to June 30, 2021 on September 8, 2021. The
 5   parties agreed to payment of $280,965 in undisputed fees and costs billed by plaintiffs’
 6   counsel. This stipulation fully settles all costs and fees for the second quarter 2021
 7   billing.
 8          WHEREFORE, defendants agree to pay plaintiffs’ counsel $280,965 within 30
 9   days of the signing of this Order. On the 31st day following the entry of this Order,
10   interest on any unpaid amount will begin to accrue at the rate provided by 28 U.S.C. §
11   1961 (i.e., the weekly average 1 year constant maturity Treasury yield for the calendar
12   week preceding the date of the Order.)
13   AGREED TO BY THE PARTIES:
14   Date: October 6, 2021
15                                                                /s/
                                                            Alison Hardy
16                                                          Attorney for Plaintiffs
17
18   Date: October 6, 2021                                         /s/
                                                            Iram Hasan
19                                                          Deputy Attorney General
20                                                          Attorney for Defendants

21   I, Alison Hardy, attest that Iram Hasan signed this document on October 6, 2021.
22
23   IT IS SO ORDERED.

24
25   Date: October 8 , 2021
                                                            United States District Court Judge
26
27
28
                                                 2
     Stipulation and Order Re: Collection of Second Quarter Fees
     Plata v. Newsom, No. C-01-1351 J.S.T.
